Case 4:07-cv-05944-JST Document 4371-23 Filed 02/04/16 Page 1 of 19




            DECLARATION OF JOSEPH M. FISHER




                           EXHIBIT W
            Case 4:07-cv-05944-JST Document 4371-23 Filed 02/04/16 Page 2 of 19




Notice for Purchasers of CRT Products
  English      Story Number: NE74205

 Clear Time Aug 06, 2015 2:22 PM ET          View Release 


 Report Data shows for (NE74205) English : Notice for Purchasers of CRT Products




                           203                                                   72,095,000
                          Websites                                           Total Potential Audience



 Distribution Summary
 See the types of websites your release posted to, and the industries they cover.



 Media Type                                                   Website Industry




              Broadcast Media          Newspaper                           Media & Information      Other
              News & Information Service                                   Tech       Financial
              Trade Pub         Blog       The rest                        Multicultural & Demographic


  Media Type                                       Websites   Website Industry                              Websites


  Broadcast Media                                       96    Media & Information                               155


  Newspaper                                             47    Other                                              22


  News & Information Service                            34    Tech                                               16


  Trade Pub                                             18    Financial                                           8
              Case 4:07-cv-05944-JST Document 4371-23 Filed 02/04/16 Page 3 of 19
   Media Type                                 Websites     Website Industry                       Websites


   Blog                                             4      Multicultural & Demographic                  2


   Portal                                           2      Total Number of Websites                   203


   Magazine                                         1


   PR Newswire                                      1


   Total Number of Websites                       203




 Distribution Details
 The details of each component of your online distribution.




 SocialPost
 View activity relating to your SocialPost distribution.
                                                                 @PRNcnsmr                      @PRNAlert
                                                                 1,154                          5,459
    http://t.co/tlglTRslp6: $576,750,000                         followers                      followers
    Settlement to buyers of TVs or
                                                                 @PRNctech
    Computer Monitors with Cathode Ray
                                                                 932
    Tubes http://t.co/3mg7H8H2Wk
                                                                 followers




 Social Activity

   7,545                      0            7,545                1                  7,756
  Impressions             Retweets         SocialPost      Clicks from                Total
                                            Audience          Twitter               Potential
                                                                                    Audience




Online Distribution
The details of each site that posted your releases.
203 postings to websites on our network have been found, with a total potential
audience of 72,095,000  unique visitors per day.
       Case 4:07-cv-05944-JST Document 4371-23 Filed 02/04/16 Page 4 of 19

                                           # of                                              Visitors Per Day
Logo     Outlet or Website Name            Releases   Location   Media Type    Industry


         Yahoo!                            1          Global     Portal        Media &             51,804,000
         View Release                                                          Information


         MarketWatch                       1          United     News &        Financial              758,000
         View Release                                 States     Information
                                                                 Service


         Boston Globe                      1          United     Newspaper     Media &                561,000
         View Release                                 States                   Information


         Wichita Business Journal          1          United     Newspaper     Media &                389,000
         View Release                                 States                   Information


         Washington Business Journal       1          United     Newspaper     Media &                389,000
         View Release                                 States                   Information


         Minneapolis / St. Paul Business   1          United     Newspaper     Media &                389,000
         Journal                                      States                   Information
         View Release


         Triangle Business Journal         1          United     Newspaper     Media &                389,000
         View Release                                 States                   Information


         Business Journal of the Greater   1          United     Newspaper     Media &                389,000
         Triad Area                                   States                   Information
         View Release


         Tampa Bay Business Journal        1          United     Newspaper     Media &                389,000
         View Release                                 States                   Information


         St. Louis Business Journal        1          United     Newspaper     Media &                389,000
         View Release                                 States                   Information


         South Florida Business Journal    1          United     Newspaper     Media &                389,000
         View Release                                 States                   Information


         Puget Sound Business Journal      1          United     Newspaper     Media &                389,000
         View Release                                 States                   Information


         San Jose Business Journal         1          United     Newspaper     Media &                389,000
         View Release                                 States                   Information


         San Francisco Business Times      1          United     Newspaper     Media &                389,000
         View Release                                 States                   Information


         San Antonio Business Journal      1          United     Newspaper     Media &                389,000
         View Release                                 States                   Information


         Sacramento Business Journal       1          United     Newspaper     Media &                389,000
         View Release                                 States                   Information


         Bizjournals.com, Inc.             1          United     Newspaper     Media &                389,000
         View Release                                 States                   Information


         Portland Business Journal         1          United     Newspaper     Media &                389,000
         View Release                                 States                   Information


         Pittsburgh Business Times         1          United     Newspaper     Media &                389,000
         View Release                                 States                   Information


         Business Journal of Phoenix       1          United     Newspaper     Media &                389,000
         View Release                                 States                   Information
       Case 4:07-cv-05944-JST Document 4371-23 Filed 02/04/16 Page 5 of 19

                                         # of                                             Visitors Per Day
Logo     Outlet or Website Name          Releases   Location   Media Type   Industry


         Philadelphia Business Journal   1          United     Newspaper    Media &                389,000
         View Release                               States                  Information


         Pacific Business News           1          United     Newspaper    Media &                389,000
         View Release                               States                  Information


         Orlando Business Journal        1          United     Newspaper    Media &                389,000
         View Release                               States                  Information


         New York Business Journal       1          United     Newspaper    Media &                389,000
         View Release                               States                  Information


         Nashville Business Journal      1          United     Newspaper    Media &                389,000
         View Release                               States                  Information


         Business Journal of Greater     1          United     Newspaper    Media &                389,000
         Milwaukee                                  States                  Information
         View Release


         Memphis Business Journal        1          United     Newspaper    Media &                389,000
         View Release                               States                  Information


         Business First of Louisville    1          United     Newspaper    Media &                389,000
         View Release                               States                  Information


         Los Angeles Business from       1          United     Newspaper    Media &                389,000
         bizjournals                                States                  Information
         View Release


         Kansas City Business Journal    1          United     Newspaper    Media &                389,000
         View Release                               States                  Information


         Jacksonville Business Journal   1          United     Newspaper    Media &                389,000
         View Release                               States                  Information


         Houston Business Journal        1          United     Newspaper    Media &                389,000
         View Release                               States                  Information


         Denver Business Journal         1          United     Newspaper    Media &                389,000
         View Release                               States                  Information


         Dayton Business Journal         1          United     Newspaper    Media &                389,000
         View Release                               States                  Information


         Dallas Business Journal         1          United     Newspaper    Media &                389,000
         View Release                               States                  Information


         Business First of Columbus      1          United     Newspaper    Media &                389,000
         View Release                               States                  Information


         Cincinnati Business Courier     1          United     Newspaper    Media &                389,000
         View Release                               States                  Information


         Chicago Business News           1          United     Newspaper    Media &                389,000
         View Release                               States                  Information


         Charlotte Business Journal      1          United     Newspaper    Media &                389,000
         View Release                               States                  Information


         Business First of Buffalo       1          United     Newspaper    Media &                389,000
         View Release                               States                  Information


         Boston Business Journal         1          United     Newspaper    Media &                389,000
         View Release                               States                  Information
       Case 4:07-cv-05944-JST Document 4371-23 Filed 02/04/16 Page 6 of 19

                                          # of                                               Visitors Per Day
Logo     Outlet or Website Name           Releases   Location    Media Type    Industry


         Birmingham Business Journal      1          United      Newspaper     Media &                389,000
         View Release                                States                    Information


         Baltimore Business Journal       1          United      Newspaper     Media &                389,000
         View Release                                States                    Information


         Austin Business Journal          1          United      Newspaper     Media &                389,000
         View Release                                States                    Information


         Atlanta Business Chronicle       1          United      Newspaper     Media &                389,000
         View Release                                States                    Information


         New Mexico Business Weekly       1          United      Newspaper     Media &                389,000
         View Release                                States                    Information


         Business Review (Albany)         1          United      Newspaper     Media &                389,000
         View Release                                States                    Information


         TheStreet.com                    1          United      Trade Pub     Financial              338,000
         View Release                                States


         Yahoo! Singapore                 1          Singapore   Portal        Media &                129,000
         View Release                                                          Information


         ADVFN                            1          United      News &        Financial               96,000
         View Release                                States      Information
                                                                 Service


         KWTV-TV CBS-9 (Oklahoma City,    1          United      Broadcast     Media &                 68,000
         OK)                                         States      Media         Information
         View Release


         PR Newswire                      1          United      PR Newswire   Media &                 66,000
         View Release                                States                    Information


         WISTV NBC-10 (Columbia, SC)      1          United      Broadcast     Media &                 53,000
         View Release                                States      Media         Information


         WFMZ-TV IND-69 (Allentown, PA)   1          United      Broadcast     Media &                 53,000
         View Release                                States      Media         Information


         Press-Enterprise                 1          United      Newspaper     Media &                 50,000
         View Release                                States                    Information


         WAFB CBS-9 (Baton Rouge, LA)     1          United      Broadcast     Media &                 48,000
         View Release                                States      Media         Information


         KOTV-TV CBS-6 (Tulsa, OK)        1          United      Broadcast     Media &                 48,000
         View Release                                States      Media         Information


         WXIX FOX-19 (Cincinnati, OH)     1          United      Broadcast     Media &                 39,000
         View Release                                States      Media         Information


         WAVE NBC-3 (Louisville, KY)      1          United      Broadcast     Media &                 37,000
         View Release                                States      Media         Information


         WAFF NBC-48 (Huntsville, AL)     1          United      Broadcast     Media &                 35,000
         View Release                                States      Media         Information


         WFIE NBC-14 (Evansville, IN)     1          United      Broadcast     Media &                 35,000
         View Release                                States      Media         Information


         WWBT NBC-12 (Richmond, VA)       1          United      Broadcast     Media &                 34,000
         View Release                                States      Media         Information
       Case 4:07-cv-05944-JST Document 4371-23 Filed 02/04/16 Page 7 of 19

                                         # of                                              Visitors Per Day
Logo     Outlet or Website Name          Releases   Location   Media Type    Industry


         Information Week                1          United     Trade Pub     Tech                    34,000
         View Release                               States


         WSFA NBC-12 (Montgomery, AL)    1          United     Broadcast     Media &                 30,000
         View Release                               States     Media         Information


         WCSC CBS-5 (Charleston, SC)     1          United     Broadcast     Media &                 30,000
         View Release                               States     Media         Information


         KHNL-TV NBC-8 (Honolulu, HI)    1          United     Broadcast     Media &                 30,000
         View Release                               States     Media         Information


         WRCB-TV NBC-3 (Chattanooga,     1          United     Broadcast     Media &                 29,000
         TN)                                        States     Media         Information
         View Release


         WSET-TV ABC-13 (Lynchburg,      1          United     Broadcast     Media &                 27,000
         VA)                                        States     Media         Information
         View Release


         KLTV ABC-7 (Tyler, TX)          1          United     Broadcast     Media &                 27,000
         View Release                               States     Media         Information


         WLOX ABC-13 (Biloxi, MS)        1          United     Broadcast     Media &                 26,000
         View Release                               States     Media         Information


         KHQ-TV NBC-6 (Spokane, WA)      1          United     Broadcast     Media &                 26,000
         View Release                               States     Media         Information


         WDRB FOX-41 (Louisville, KY)    1          United     Broadcast     Media &                 24,000
         View Release                               States     Media         Information


         WALB NBC-10 (Albany, GA)        1          United     Broadcast     Media &                 24,000
         View Release                               States     Media         Information


         WBOC CBS-16 (Salisbury, MD)     1          United     Broadcast     Media &                 23,000
         View Release                               States     Media         Information


         KFMB-TV CBS-8 (San Diego, CA)   1          United     Broadcast     Media &                 23,000
         View Release                               States     Media         Information


         WBMA-TV ABC-33 / ABC-40         1          United     Broadcast     Media &                 23,000
         (Birmingham, AL)                           States     Media         Information
         View Release


         Ticker Technologies             1          United     News &        Financial               22,000
         View Release                               States     Information
                                                               Service


         One News Page Global Edition    1          Global     News &        Media &                 22,000
         View Release                                          Information   Information
                                                               Service


         KTUL-TV ABC-8 (Tulsa, OK)       1          United     Broadcast     Media &                 19,000
         View Release                               States     Media         Information


         WTOC CBS-11 (Savannah, GA)      1          United     Broadcast     Media &                 18,000
         View Release                               States     Media         Information


         KOLD CBS-13 (Tucson, AZ)        1          United     Broadcast     Media &                 18,000
         View Release                               States     Media         Information


         WTOL CBS-11 (Toledo, OH)        1          United     Broadcast     Media &                 18,000
         View Release                               States     Media         Information
       Case 4:07-cv-05944-JST Document 4371-23 Filed 02/04/16 Page 8 of 19

                                           # of                                             Visitors Per Day
Logo     Outlet or Website Name            Releases   Location   Media Type   Industry


         KFVS CBS-12 (Cape Girardeau,      1          United     Broadcast    Media &                 18,000
         MO)                                          States     Media        Information
         View Release


         KAIT ABC-8 (Jonesboro, AR)        1          United     Broadcast    Media &                 18,000
         View Release                                 States     Media        Information


         EE Times                          1          United     Trade Pub    Tech                    18,000
         View Release                                 States


         WECT NBC-6 (Wilmington, NC)       1          United     Broadcast    Media &                 16,000
         View Release                                 States     Media        Information


         KSLA CBS-12 (Shreveport, LA)      1          United     Broadcast    Media &                 14,000
         View Release                                 States     Media        Information


         KCBD NBC-11 (Lubbock, TX)         1          United     Broadcast    Media &                 14,000
         View Release                                 States     Media        Information


         WOIO CBS-19 (Cleveland, OH)       1          United     Broadcast    Media &                 14,000
         View Release                                 States     Media        Information


         WBOY-TV NBC-12 (Clarksburg,       1          United     Broadcast    Media &                 13,000
         WV)                                          States     Media        Information
         View Release


         KATV-TV ABC-7 (Little Rock, AR)   1          United     Broadcast    Media &                 13,000
         View Release                                 States     Media        Information


         WVUE-TV FOX-8 (New Orleans,       1          United     Broadcast    Media &                 13,000
         LA)                                          States     Media        Information
         View Release


         WTVM ABC-9 (Columbus, GA)         1          United     Broadcast    Media &                 11,000
         View Release                                 States     Media        Information


         KTRE ABC-9 (Lufkin, TX)           1          United     Broadcast    Media &                 11,000
         View Release                                 States     Media        Information


         WMBF NBC-32 (Myrtle Beach, SC)    1          United     Broadcast    Media &                 10,000
         View Release                                 States     Media        Information


         WTRF-TV CBS-7 (Wheeling, WV)      1          United     Broadcast    Media &                   8,000
         View Release                                 States     Media        Information


         WLNE-TV ABC-6 (Providence, RI)    1          United     Broadcast    Media &                   8,000
         View Release                                 States     Media        Information


         WFMJ-TV NBC-21 (Youngstown,       1          United     Broadcast    Media &                   7,000
         OH)                                          States     Media        Information
         View Release


         WDAM NBC-7 (Hattiesburg-Laurel,   1          United     Broadcast    Media &                   7,000
         MS)                                          States     Media        Information
         View Release


         TMCnet                            1          United     Trade Pub    Other                     7,000
         View Release                                 States


         Technology News @ TMCnet          1          United     Trade Pub    Tech                      7,000
         View Release                                 States



         Green Technology @ TMCnet         1          United     Trade Pub    Tech                      7,000
         View Release                                 States
       Case 4:07-cv-05944-JST Document 4371-23 Filed 02/04/16 Page 9 of 19

                                           # of                                              Visitors Per Day
Logo     Outlet or Website Name            Releases   Location   Media Type    Industry


         Globe Advisor                     1          Canada     News &        Financial          Not available
         View Release                                            Information
                                                                 Service


         WXTX-TV FOX-54 (Columbus,         1          United     Broadcast     Media &            Not available
         GA)                                          States     Media         Information
         View Release


         WVNS-TV CBS-59 (Ghent, WV)        1          United     Broadcast     Media &            Not available
         View Release                                 States     Media         Information


         WSFX-TV FOX-26 (Wilmington,       1          United     Broadcast     Media &            Not available
         NC)                                          States     Media         Information
         View Release


         WMC NBC-5 (Memphis, TN)           1          United     Broadcast     Media &            Not available
         View Release                                 States     Media         Information


         WLTZ-TV NBC-38 (Columbus, GA)     1          United     Broadcast     Media &            Not available
         View Release                                 States     Media         Information


         WFXG-TV FOX-54 (Augusta, GA)      1          United     Broadcast     Media &            Not available
         View Release                                 States     Media         Information


         WFLX FOX-29 (West Palm Beach,     1          United     Broadcast     Media &            Not available
         FL)                                          States     Media         Information
         View Release


         WAND-TV NBC-17 (Decatur, IL)      1          United     Broadcast     Media &            Not available
         View Release                                 States     Media         Information


         Wall Street & Technology          1          United     Trade Pub     Other              Not available
         View Release                                 States


         Virtual-Strategy Magazine         1          United     Trade Pub     Tech               Not available
         View Release                                 States


         VA3XPR                            1          Canada     Blog          Tech               Not available
         View Release


         KQCW CW-12/19 (Tulsa, OK)         1          United     Broadcast     Media &            Not available
         View Release                                 States     Media         Information


         Today's News                      1          Global     News &        Media &            Not available
         View Release                                            Information   Information
                                                                 Service


         Streetwise Report                 1          United     News &        Other              Not available
         View Release                                 States     Information
                                                                 Service


         Streaming News                    1          United     News &        Other              Not available
         View Release                                 States     Information
                                                                 Service


         The State Journal (Charleston,    1          United     Newspaper     Media &            Not available
         WV)                                          States                   Information
         View Release


         KMEG-TV CBS-14 (Sioux City, IA)   1          United     Broadcast     Media &            Not available
         View Release                                 States     Media         Information


         KFMB 100.7 Jack-FM (San Diego,    1          United     Broadcast     Media &            Not available
         CA)                                          States     Media         Information
         View Release
       Case 4:07-cv-05944-JST Document 4371-23 Filed 02/04/16 Page 10 of 19

                                            # of                                                  Visitors Per Day
Logo      Outlet or Website Name            Releases   Location   Media Type    Industry


          Really Rocket Science             1          United     Blog          Other                  Not available
          View Release                                 States


          R & D Art                         1          United     News &        Other                  Not available
          View Release                                 States     Information
                                                                  Service


          One News Page Unites States       1          United     News &        Media &                Not available
          Edition                                      States     Information   Information
          View Release                                            Service


          Olejniczak Advisors               1          United     News &        Financial              Not available
          View Release                                 States     Information
                                                                  Service


          Older Not Dead.com                1          Global     News &        Multicultural &        Not available
          View Release                                            Information   Demographic
                                                                  Service


          KWES-TV NBC-9 (Midland, TX)       1          United     Broadcast     Media &                Not available
          View Release                                 States     Media         Information


          KAUZ-TV CBS-6 (Wichita Falls,     1          United     Broadcast     Media &                Not available
          TX)                                          States     Media         Information
          View Release


          KFDA CBS-10 (Amarillo, TX)        1          United     Broadcast     Media &                Not available
          View Release                                 States     Media         Information


          NebraskaTV (Kearney, NE)          1          United     Broadcast     Media &                Not available
          View Release                                 States     Media         Information


          KNDO-TV NBC / KNDU-TV NBC         1          United     Broadcast     Media &                Not available
          (Kennewick, WA)                              States     Media         Information
          View Release


          WGFL-TV CBS-4 (Gainesville, FL)   1          United     Broadcast     Media &                Not available
          View Release                                 States     Media         Information


          WFXS-TV FOX-55 (Wausau , WI)      1          United     Broadcast     Other                  Not available
          View Release                                 States     Media


          WTLH-TV FOX-49 (Tallahassee,      1          United     Broadcast     Media &                Not available
          FL)                                          States     Media         Information
          View Release


          WOLF-TV FOX-56 (Wilkes-Barre,     1          United     Broadcast     Media &                Not available
          PA)                                          States     Media         Information
          View Release


          WPFO-TV FOX-23 (Portland, ME)     1          United     Broadcast     Media &                Not available
          View Release                                 States     Media         Information


          WDSI-TV FOX-61 (Chattanooga,      1          United     Broadcast     Media &                Not available
          TN)                                          States     Media         Information
          View Release


          WLBT NBC-3 (Jackson, MS)          1          United     Broadcast     Media &                Not available
          View Release                                 States     Media         Information


          Market Quote                      1          United     News &        Other                  Not available
          View Release                                 States     Information
                                                                  Service
       Case 4:07-cv-05944-JST Document 4371-23 Filed 02/04/16 Page 11 of 19

                                               # of                                              Visitors Per Day
Logo      Outlet or Website Name               Releases   Location   Media Type    Industry


          KXXV-TV ABC-25 (Waco, TX)            1          United     Broadcast     Media &            Not available
          View Release                                    States     Media         Information


          KX News - KXMB / KXMC / KXMA         1          United     Broadcast     Media &            Not available
          / KXMD                                          States     Media         Information
          View Release


          KUSI-TV IND-51 (San Diego, CA)       1          United     Broadcast     Media &            Not available
          View Release                                    States     Media         Information


          KUAM-TV NBC-8 / CBS-11               1          United     Broadcast     Media &            Not available
          (Hagatna, Guam)                                 States     Media         Information
          View Release


          KTVN-TV CBS-2 (Reno, NV)             1          United     Broadcast     Media &            Not available
          View Release                                    States     Media         Information


          KTEN NBC-10 (Denison, TX)            1          United     Broadcast     Media &            Not available
          View Release                                    States     Media         Information


          KSWO-TV ABC-7 (Lawton, OK)           1          United     Broadcast     Media &            Not available
          View Release                                    States     Media         Information


          KPLC NBC-7 (Lake Charles-            1          United     Broadcast     Media &            Not available
          Lafayette, LA)                                  States     Media         Information
          View Release


          KMPH-TV FOX-26 (Fresno, CA)          1          United     Broadcast     Media &            Not available
          View Release                                    States     Media         Information


          KFRE-TV CW-59 (Fresno, CA)           1          United     Broadcast     Media &            Not available
          View Release                                    States     Media         Information


          KLKN ABC-8 (Lincoln, NE)             1          United     Broadcast     Media &            Not available
          View Release                                    States     Media         Information


          KIII-TV ABC-3 (Corpus Christi, TX)   1          United     Broadcast     Media &            Not available
          View Release                                    States     Media         Information


          KEYC-TV CBS-12 / FOX-12              1          United     Broadcast     Media &            Not available
          (Mankato, MN)                                   States     Media         Information
          View Release


          KCEN-TV NBC-9 (Temple, TX)           1          United     Broadcast     Media &            Not available
          View Release                                    States     Media         Information


          KFVE MyNetworkTV-5 (Honolulu,        1          United     Broadcast     Media &            Not available
          HI)                                             States     Media         Information
          View Release


          Journal of Common Stock              1          Global     Trade Pub     Financial          Not available
          View Release


          ITBusinessNet.com                    1          United     Trade Pub     Tech               Not available
          View Release                                    States


          Internet Business Law Services       1          United     News &        Other              Not available
          View Release                                    States     Information
                                                                     Service


          KTVG-TV FOX-17 / KSNB-TV             1          United     Broadcast     Media &            Not available
          FOX-4 (Kearney, NE)                             States     Media         Information
          View Release
       Case 4:07-cv-05944-JST Document 4371-23 Filed 02/04/16 Page 12 of 19

                                           # of                                              Visitors Per Day
Logo      Outlet or Website Name           Releases   Location   Media Type    Industry


          KPTM-TV FOX-42 (Omaha, NE)       1          United     Broadcast     Media &            Not available
          View Release                                States     Media         Information


          WBOC-TV FOX-21 (Salisbury, MD)   1          United     Broadcast     Media &            Not available
          View Release                                States     Media         Information


          KFJX-TV FOX-14 (Pittsburg, KS)   1          United     Broadcast     Media &            Not available
          View Release                                States     Media         Information


          Foreign Press Association        1          United     News &        Media &            Not available
          View Release                                States     Information   Information
                                                                 Service


          Following the Nerd               1          Global     News &        Tech               Not available
          View Release                                           Information
                                                                 Service


          WICU-TV NBC-12 (Erie, PA)        1          United     Broadcast     Media &            Not available
          View Release                                States     Media         Information


          WUPV-TV CW-65 (Ashland, VA)      1          United     Broadcast     Media &            Not available
          View Release                                States     Media         Information


          KXVO-TV CW-15 (Omaha, NE)        1          United     Broadcast     Media &            Not available
          View Release                                States     Media         Information


          WLTZ-TV CW-38 (Columbus, GA)     1          United     Broadcast     Other              Not available
          View Release                                States     Media


          Crowdfunding Probate             1          United     News &        Other              Not available
          View Release                                States     Information
                                                                 Service


          Crowdfunding Lawsuits            1          United     News &        Other              Not available
          View Release                                States     Information
                                                                 Service


          Consumer Electronics Net         1          United     Trade Pub     Tech               Not available
          View Release                                States


          Competitive Brand                1          United     News &        Other              Not available
          View Release                                States     Information
                                                                 Service


          KYTX CBS-19 (Tyler, TX)          1          United     Broadcast     Media &            Not available
          View Release                                States     Media         Information


          KAZT IND-7 (Phoenix/Prescott,    1          United     Broadcast     Media &            Not available
          AZ)                                         States     Media         Information
          View Release


          Avention                         1          United     News &        Other              Not available
          View Release                                States     Information
                                                                 Service


          All About Technology             1          United     News &        Other              Not available
          View Release                                States     Information
                                                                 Service


          WCIV-TV ABC-4 (Charleston, SC)   1          United     Broadcast     Media &            Not available
          View Release                                States     Media         Information


          KRHD-TV ABC-40 (Bryan-College    1          United     Broadcast     Media &            Not available
          Station, TX)                                States     Media         Information
          View Release
       Case 4:07-cv-05944-JST Document 4371-23 Filed 02/04/16 Page 13 of 19

                                            # of                                                  Visitors Per Day
Logo      Outlet or Website Name            Releases   Location   Media Type    Industry


          KFMB 760-AM (San Diego, CA)       1          United     Broadcast     Media &                Not available
          View Release                                 States     Media         Information


          KBMT-TV ABC-12 (Beaumont, TX)     1          United     Broadcast     Media &                Not available
          View Release                                 States     Media         Information


          Aving Global News Network |       1          Global     News &        Other                  Not available
          English                                                 Information
          View Release                                            Service


          Tech News Arm                     1          Global     Blog          Other                  Not available
          View Release


          Streaming Business News           1          United     News &        Media &                Not available
          View Release                                 States     Information   Information
                                                                  Service


          Operation Deepdown                1          United     News &        Media &                Not available
          View Release                                 States     Information   Information
                                                                  Service


          NYCLA - New York County           1          United     News &        Other                  Not available
          Lawyers' Association                         States     Information
          View Release                                            Service


          NorthStar News                    1          United     News &        Multicultural &        Not available
          View Release                                 States     Information   Demographic
                                                                  Service


          News Throttle                     1          United     News &        Media &                Not available
          View Release                                 States     Information   Information
                                                                  Service


          KSTC-TV IND-45 (Saint Paul, MN)   1          United     Broadcast     Media &                Not available
          View Release                                 States     Media         Information


          Leadership for LIFE               1          United     News &        Other                  Not available
          View Release                                 States     Information
                                                                  Service


          Global Newsweek                   1          Global     News &        Media &                Not available
          View Release                                            Information   Information
                                                                  Service


          Frontgate Capital Resources       1          United     News &        Other                  Not available
          View Release                                 States     Information
                                                                  Service


          DMN Forums                        1          United     Trade Pub     Tech                   Not available
          View Release                                 States


          Final Cut Pro                     1          United     Trade Pub     Tech                   Not available
          View Release                                 States


          Film Imaging                      1          United     Trade Pub     Tech                   Not available
          View Release                                 States


          DV Format                         1          United     Trade Pub     Tech                   Not available
          View Release                                 States


          DVD Creation                      1          United     Trade Pub     Tech                   Not available
          View Release                                 States


          Digital Media Online, Inc.        1          United     Trade Pub     Tech                   Not available
          View Release                                 States
         Case 4:07-cv-05944-JST Document 4371-23 Filed 02/04/16 Page 14 of 19

                                                 # of                                               Visitors Per Day
  Logo        Outlet or Website Name             Releases   Location   Media Type    Industry


              San Francisco CityRoom [San        1          United     News &        Media &             Not available
              Francisco, CA]                                States     Information   Information
              View Release                                             Service


              Caifornia Business Journal         1          United     Magazine      Other               Not available
              View Release                                  States


              Axleration                         1          United     Blog          Other               Not available
              View Release                                  States


              AssignmentEditor.com               1          Global     News &        Media &             Not available
              View Release                                             Information   Information
                                                                       Service


              QuoteMedia                         1          Global     News &        Financial           Not available
              View Release                                             Information
                                                                       Service


              AP [American Press] Newswroom      1          United     News &        Media &             Not available
              View Release                                  States     Information   Information
                                                                       Service


              AEC Newsroom                       1          United     Trade Pub     Tech                Not available
              View Release                                  States


 Visitors per Day data from comScore, Inc is used to provide an indication of the potential audience for your press
 release. comScore, Inc does not provide data for all websites in our network.




About PR Newswire      Contact PR Newswire           PR Newswire's Terms of Use Apply    Careers   Privacy     Site Map
                                                      RSS Feeds Blog




                          Copyright PR Newswire Association LLC. All Rights Reserved. © 2015
                                                A UBM plc company.

                                              PR Newswire's Terms of Use Apply
     Case 4:07-cv-05944-JST Document 4371-23 Filed
Visibility Reports
                                                       02/04/16 Page 15 of 19
                                             https://vrep.prnewswire.com/vr3/release_distribution.jsp#




             Aviso legal para compradores de productos CRT
              Spanish    Story Number: ES74205   Clear Time Aug 06, 2015 3:32 PM ET    View Release ∠


             Report Data shows for    (ES74205) Spanish : Aviso legal para compradores de productos CRT




                                           81
                                       Websites
                                                                                                             332,000
                                                                                                        Total Potential Audience




             Distribution Summary
             See the types of websites your release posted to, and the industries they cover.



             Media Type                                                               Website Industry




                                                                                                   Other        Media & Information
                        News & Information Service    Trade Pub                                    Multicultural & Demographic        Financial
                        Blog      Portal      Newspaper      The rest                              Health


              Media Type                                           Websites            Website Industry                            Websites


              News & Information Service                                 23            Other                                            72


              Trade Pub                                                  18            Media & Information                               4


              Blog                                                       13            Multicultural & Demographic                       3


              Portal                                                     12            Financial                                         1


              Newspaper                                                  10            Health                                            1


              Magazine                                                    4            Total Number of Websites                         81


              PR Newswire                                                 1


              Total Number of Websites                                   81




             Distribution Details
             The details of each component of your online distribution.




1 of 5                                                                                                                                 10/6/15, 9:49 PM
     Case 4:07-cv-05944-JST Document 4371-23 Filed
Visibility Reports
                                                       02/04/16 Page 16 of 19
                                             https://vrep.prnewswire.com/vr3/release_distribution.jsp#




             Online Distribution
             The details of each site that posted your releases.
             81 postings to websites on our network have been found, with a total potential
             audience of 332,000 ? unique visitors per day.


                                                      # of
              Logo    Outlet or Website Name          Releases   Location        Media Type    Industry      Visitors per day


                      ADVFN Mexico                    1          Mexico          News &        Other                    96,000
                      View Release                                               Information
                                                                                 Service


                      PR Newswire                     1          United States   PR Newswire   Media &                  66,000
                      View Release                                                             Information


                      Observador de Medios            1          Mexico          Blog          Other                    51,000
                      View Release


                      Erick Becerra - El nuevo blog   1          Mexico          Blog          Other                    51,000
                      View Release


                      World at News                   1          Chile           Blog          Other                    18,000
                      View Release


                      Analista Junior                 1          Brazil          Blog          Other                    18,000
                      View Release


                      TV Notas                        1          Mexico          Magazine      Other                    16,000
                      View Release


                      Blog de ReyMidas                1          Argentina       Blog          Other                    16,000
                      View Release


                      Diario de Yucat�n               1          Mexico          Portal        Other             Not available
                      View Release


                      The Insighters                  1          Mexico          Trade Pub     Other             Not available
                      View Release


                      Technocracia                    1          Dominican       Trade Pub     Other             Not available
                      View Release                               Republic


                      Technochat                      1          Costa Rica      News &        Other             Not available
                      View Release                                               Information
                                                                                 Service


                      Tesys                           1          Argentina       Portal        Other             Not available
                      View Release


                      Tabasco Hoy                     1          Mexico          Newspaper     Other             Not available
                      View Release


                      Siempre!                        1          Mexico          News &        Other             Not available
                      View Release                                               Information
                                                                                 Service


                      Servicio Web                    1          Chile           Portal        Other             Not available
                      View Release


                      Reseller Comunicaci�n           1          Mexico          Trade Pub     Other             Not available
                      Magazine
                      View Release


                      Radio ABC 99.7                  1          Nicaragua       News &        Other             Not available
                      View Release                                               Information
                                                                                 Service


                      Ultimas Noticias Quintana Roo   1          Mexico          News &        Other             Not available
                      View Release                                               Information
                                                                                 Service


                      Periodistas en Chile            1          Chile           Blog          Other             Not available
                      View Release


                      Pandora                         1          Dominican       Trade Pub     Other             Not available
                      View Release                               Republic



2 of 5                                                                                                                     10/6/15, 9:49 PM
     Case 4:07-cv-05944-JST Document 4371-23 Filed
Visibility Reports
                                                       02/04/16 Page 17 of 19
                                             https://vrep.prnewswire.com/vr3/release_distribution.jsp#
                                                       # of
              Logo   Outlet or Website Name            Releases   Location        Media Type    Industry      Visitors per day


                     Opinion y Noticias                1          Venezuela       Portal        Other             Not available
                     View Release


                     Omnia                             1          Mexico          News &        Other             Not available
                     View Release                                                 Information
                                                                                  Service


                     Obras                             1          Mexico          Trade Pub     Other             Not available
                     View Release


                     Nosis                             1          Argentina       News &        Other             Not available
                     View Release                                                 Information
                                                                                  Service


                     Mercado de Dinero                 1          columbia        Newspaper     Other             Not available
                     View Release


                     DallasNews.com                    1          United States   Newspaper     Media &           Not available
                     View Release                                                               Information


                     Limite Informativo                1          Argentina       Portal        Other             Not available
                     View Release


                     Informa-Tico: El Diario Digital   1          Costa Rica      News &        Other             Not available
                     de Costa Rica                                                Information
                     View Release                                                 Service


                     Homo Digital                      1          Mexico          Blog          Other             Not available
                     View Release


                     GQ                                1          Mexico          Magazine      Other             Not available
                     View Release


                     Familia y Mujer                   1          Spain           News &        Health            Not available
                     View Release                                                 Information
                                                                                  Service


                     Etcetera Blog Panama              1          Mexico          Blog          Other             Not available
                     View Release


                     Entorno Empresarial               1          Venezuela       Trade Pub     Other             Not available
                     View Release


                     Entera.me                         1          Mexico          Trade Pub     Other             Not available
                     View Release


                     En Finanzas RD                    1          Dominican       Blog          Other             Not available
                     View Release                                 Republic


                     Empresarios Pyme                  1          Mexico          Trade Pub     Other             Not available
                     View Release


                     El Viajero Digital                1          Dominican       News &        Other             Not available
                     View Release                                 Republic        Information
                                                                                  Service


                     El Respetable                     1          Mexico          News &        Other             Not available
                     View Release                                                 Information
                                                                                  Service


                     El Popular Ecuador                1          Ecuador         Newspaper     Other             Not available
                     View Release


                     El Mundo                          1          Venezuela       Newspaper     Other             Not available
                     View Release


                     El Economista America Mexico      1          Mexico          Portal        Other             Not available
                     View Release


                     De Mercado y Negocios             1          Venezuela       Trade Pub     Other             Not available
                     View Release


                     MarketingData-Red                 1          Spain           News &        Media &           Not available
                     View Release                                                 Information   Information
                                                                                  Service


                     La Cr�nica de Hoy                 1          Mexico          Newspaper     Other             Not available
                     View Release


                     ContraPunto                       1          El Salvador     Newspaper     Other             Not available
                     View Release



3 of 5                                                                                                                      10/6/15, 9:49 PM
     Case 4:07-cv-05944-JST Document 4371-23 Filed
Visibility Reports
                                                       02/04/16 Page 18 of 19
                                             https://vrep.prnewswire.com/vr3/release_distribution.jsp#
                                                  # of
              Logo   Outlet or Website Name       Releases   Location        Media Type    Industry          Visitors per day


                     ClickMe Directory            1          Mexico          Blog          Other                 Not available
                     View Release


                     Clases de Periodismo         1          Peru            Blog          Other                 Not available
                     View Release


                     Bolsamania (Web Financial    1          Spain           Trade Pub     Financial             Not available
                     Group)
                     View Release


                     3 Gordos Bastardos           1          Mexico          News &        Other                 Not available
                     View Release                                            Information
                                                                             Service


                     Tecnolog�a 100               1          Dominican       News &        Other                 Not available
                     View Release                            Republic        Information
                                                                             Service


                     TECHcetera                   1          Brazil          Trade Pub     Other                 Not available
                     View Release


                     Sopotocientos                1          Venezuela       Trade Pub     Other                 Not available
                     View Release


                     Sintesis                     1          Mexico          Newspaper     Other                 Not available
                     View Release


                     Siempre Mujer                1          United States   Magazine      Multicultural &       Not available
                     View Release                                                          Demographic


                     Revista Zona Centro          1          Nicaragua       Portal        Other                 Not available
                     View Release


                     Red Financiera               1          Mexico          Trade Pub     Other                 Not available
                     View Release


                     PLATO DE CARMEN PERE         1          Dominican       Blog          Other                 Not available
                     View Release                            Republic


                     Planea Tus Finanzas          1          Mexico          Trade Pub     Other                 Not available
                     View Release


                     P�gina 24                    1          Mexico          Portal        Other                 Not available
                     View Release


                     Notas.com                    1          Venezuela       Trade Pub     Other                 Not available
                     View Release


                     Mercadotecnia y Medios       1          United States   News &        Multicultural &       Not available
                     View Release                                            Information   Demographic
                                                                             Service


                     Libreta de Apuntes           1          columbia        Portal        Other                 Not available
                     View Release


                     Periodismo y fotografia      1          Mexico          Blog          Other                 Not available
                     ambiental, turismo y otros
                     View Release


                     Hispanic PR Wire             1          United States   News &        Multicultural &       Not available
                     View Release                                            Information   Demographic
                                                                             Service


                     Hilo Directo                 1          Mexico          News &        Other                 Not available
                     View Release                                            Information
                                                                             Service


                     Expansion Radial             1          Mexico          News &        Other                 Not available
                     View Release                                            Information
                                                                             Service


                     Este Pais                    1          Mexico          Magazine      Other                 Not available
                     View Release


                     Entre Palabras               1          Mexico          Portal        Other                 Not available
                     View Release


                     El Sexenio                   1          Mexico          Newspaper     Other                 Not available
                     View Release


                     El Mundo de los Negocios     1          Dominican       Trade Pub     Other                 Not available
                     View Release                            Republic


4 of 5                                                                                                                     10/6/15, 9:49 PM
     Case 4:07-cv-05944-JST Document 4371-23 Filed
Visibility Reports
                                                       02/04/16 Page 19 of 19
                                             https://vrep.prnewswire.com/vr3/release_distribution.jsp#
                                                        # of
              Logo       Outlet or Website Name         Releases     Location     Media Type      Industry           Visitors per day


                         El Buen Tono                   1            Mexico       News &          Other                    Not available
                         View Release                                             Information
                                                                                  Service


                         Diaspora Dominicana            1            Dominican    News &          Media &                  Not available
                         View Release                                Republic     Information     Information
                                                                                  Service


                         Desde Puebla                   1            Mexico       News &          Other                    Not available
                         View Release                                             Information
                                                                                  Service


                         Cronica de Oaxaca              1            Mexico       News &          Other                    Not available
                         View Release                                             Information
                                                                                  Service


                         Codice Informativo             1            Mexico       Portal          Other                    Not available
                         View Release


                         Click de Mi Pais               1            Dominican    Portal          Other                    Not available
                         View Release                                Republic


                         Diario de Leon                 1            Spain        Newspaper       Other                    Not available
                         View Release


                         Amytronics                     1            Unknown      Trade Pub       Other                    Not available
                         View Release


                         AM de Queretaro                1            Mexico       News &          Other                    Not available
                         View Release                                             Information
                                                                                  Service


                         Actualidad Hispana             1            Venezuela    Trade Pub       Other                    Not available
                         View Release


             Visitors per Day data from comScore, Inc is used to provide an indication of the potential audience for your press
             release. comScore, Inc does not provide data for all websites in our network.




             About PR Newswire          Contact PR Newswire        PR Newswire's Terms of Use Apply    Careers   Privacy      Site Map
                                                                   RSS Feeds     Blog




                                          Copyright PR Newswire Association LLC. All Rights Reserved. © 2015
                                                                A UBM plc company.
                                                            PR Newswire's Terms of Use Apply




5 of 5                                                                                                                              10/6/15, 9:49 PM
